                       Case 5:23-cr-00598-FB              Document 44                   Filed 12/01/23              Page 1 of 1


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                                                                                                                      SEALED
        rTLC U
                                             UNITED STATES DISTRICT COURT
           DEC     -1 2023                                                   for the                                                NOv 1 6
                                                               Western District of Texas
CI..ERK U.S. DISTRICT
VESTERN D1STRCT
                                                                                                                         ENFORCEMENT
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                                             merica                                                                                              SECT,O
                                    V.
                        Adrian Luis Fernandez                                  )        Case No.           SA:23-CR-00598-FB(3)
                                                                               )


                                 Defendant                                                                                              Nov 162023

                                                          ARREST WARRANT                                                       SAJ ANTONIO, TX
                                                                                                                          ENFocEq                    CTlO
 To:       Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name ofperson to be arrested)          Adrian Luis Fernandez
 who is accused of an offense or violation based on the following document filed with the court:

       Indictment           11    Superseding Indictment              J   Information       !   Superseding Information             J Complaint
 1J    Probation Violation Petition             1J Supervised Release Violation Petition              1J Violation Notice           U    Order of the Court

 This offense is briefly described as follows:
      COUNT 1: 18 U.S.C. § 933 - Conspiracy to Traffic Firearms
      COUNT 5: 26 U.S.C. § 5861(d) - Possession of Unregistered Firearm
      COUNT 6: 18 U.S.C. § 922(0) - Possession of a Machinegun
      COUNT 7: 18 U.S.C. § 922(j) Possession of Stolen Firearms




 Date:          11/15/2023
                                                                                                       Issuing officer's signatur


 City and state:         San Antonio, Texas                                                        Rose Rodriguez, Deputy Clerk
                                                                                                        Printed name and title


                                                                            Return
                                                         I I         (p. e2-3      , and the person was arrested on (date)               I 'cI
           This warr t was received on (date)                    I

 at (city and state)                                                 'F..

 Date:
                                                                                                      Arrestin  gácf're
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